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             EXHIBIT A-1
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                                     UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF NEW YORK


       Jane Doe 1, individually and on behalf of all
       others similarly situated,                                 Case No. 1:22-CV-10018 (JSR)

               Plaintiff,

                v.

       Deutsche Bank Aktiengesellschaft, et. al.,

               Defendants.




                                              NOTICE OF PROPOSED
                                          SETTLEMENT OF CLASS ACTION
TO:     ALL VICTIMS OF JEFFREY EPSTEIN’S SEX TRAFFICKING VENTURE DURING THE TIME PERIOD
        AUGUST 19, 2013 TO AUGUST 10, 2019 (THE “CLASS PERIOD”).
IN ORDER TO QUALIFY FOR A SETTLEMENT PAYMENT, YOU (OR CLASS COUNSEL ON YOUR BEHALF)
MUST TIMELY SUBMIT A TIER ONE FORM BY ___________, 2023. IF YOU (OR CLASS COUNSEL ON YOUR
BEHALF) SUBMIT A TIER ONE FORM AND ARE DETERMINED TO BE ELIGIBLE FOR A SETTLEMENT
PAYMENT, YOU WILL RECEIVE A $75,000 PAYMENT.
IN ORDER TO QUALIFY FOR AN ADDITIONAL PAYMENT ABOVE $75,000, YOU MUST ALSO TIMELY
SUBMIT A TIER TWO QUESTIONNAIRE AND RELEASE BY ___________, 2023. TO OPT-OUT OF THE
SETTLEMENT AND PRESERVE YOUR CLAIMS YOU MUST TIMELY SUBMIT AN OPT-OUT FORM BY
___________, 2023. 1
THIS NOTICE OF PROPOSED SETTLEMENT OF CLASS ACTION (“NOTICE”) WAS AUTHORIZED BY THE
COURT. IT IS NOT A LAWYER SOLICITATION. PLEASE READ THIS NOTICE CAREFULLY AND IN ITS
ENTIRETY.
                                        WHY SHOULD I READ THIS NOTICE?
         This Notice is given pursuant to an order issued by the United States District Court for the Southern District of New
York (the “Court”). This Notice serves to inform you of the proposed settlement of the above-captioned class action lawsuit
for $75 million in cash (the “Settlement”) and the hearing (the “Settlement Hearing”) to be held by the Court to consider the
fairness, reasonableness, and adequacy of the Settlement as set forth in the Amended Stipulation of Settlement dated [X] (the
“Stipulation”) by and between Class Representative Jane Doe 1 (“Class Representative”), on behalf of itself and the Class
Members (as defined below), on the one hand, and Defendants Deutsche Bank Aktiengesellschaft, Deutsche Bank AG New
York Branch, and Deutsche Bank Trust Company Americas (collectively, “Defendants”), on the other hand. You may be a
Class Member eligible to receive compensation related to the Settlement.

                                  HOW DO I KNOW IF I AM A CLASS MEMBER?
       You are a “Class Member” if you were abused or trafficked by Jeffrey Epstein and/or his associates during the period
between August 19, 2013 and August 10, 2019, including, but not limited to, as set forth below:


1
  The Tier One Form, the Tier Two Questionnaire and Release, and the Opt-Out Form are collectively referred to herein as
the “Settlement Forms.” The Stipulation of Settlement (the “Stipulation”) can be viewed and/or downloaded at [X]. All
capitalized terms not otherwise defined herein have the meanings set forth in the Stipulation. To the extent there is any
conflict between the definitions of capitalized terms in this Notice and the Stipulation, the definition in the Stipulation
controls. A copy of the Stipulation is available by contacting the Claims Administrator or visiting the website[X].
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    (1) You were a girl under the age of 18 and engaged in sexual contact with Jeffrey E. Epstein and/or a person associated
        with Epstein, and you received money or something else of value in exchange for engaging in that sexual contact
        (even if you perceived the sexual contact as consensual);

    (2) You were a woman aged 18 or older, and Epstein and/or a person associated with Epstein forced, coerced, or
        defrauded you into engaging in sexual contact by, for example, using physical force, threatening serious harm or
        legal action against you or someone else, making you a false promise, or causing you to believe that not engaging in
        sexual contact would result in serious harm to you or someone else, and you received money or something else of
        value        in        exchange       for       engaging        in        that      sexual         contact;       or

    (3) You were a girl or woman of any age and Epstein and/or a person associated with Epstein engaged in sexual contact
        with you without your consent (even if you perceived the sexual contact as consensual provided you were under the
        age of 18 at the time of engaging in that contact).

        The “Class” includes any “Class Member” as defined immediately above.

         As set forth in the Stipulation, the following are not eligible Class Members: Defendants; members of the Immediate
Family of any Defendant who is an individual; current and former directors and officers of Deutsche Bank; Defendants’
current and former legal representatives, heirs, successors, or assigns, and any entity in which Defendants have or had a
controlling interest; and anyone who timely and validly requests exclusion (i.e. opts out) pursuant to the requirements
described on page __ below.

         PLEASE NOTE: You may apply for payment pursuant to this Settlement by timely completing a Tier One Form.
The Tier One Form will be reviewed by the Claims Administrator to determine that you are an Eligible Class Member. If the
Claims Administrator determines that you are an Eligible Class Member, you will receive $75,000 following final approval
of the settlement. If you are a Class Member and you wish to be eligible to participate in the distribution of additional
proceeds from the Settlement, in addition to the Tier One Form, you are required also to timely submit the Tier Two
Questionnaire and Release that is being distributed with this Notice and the required supporting documentation as set forth
therein, postmarked or submitted online on or before ______________, 2023.


                   YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT
SUBMIT A TIER ONE FORM TO BE    In order to be eligible to receive any payment from the Settlement, you (or
ELIGBLE TO RECEIVE A PAYMENT Class Counsel on your behalf) must submit a Tier One Form to the Claims
                                Administrator. The Tier One Form must be postmarked (if mailed) or
                                received (if submitted online) on or before __________, 2023. If the Claims
                                Administrator determines you are an Eligible Class Member, you will receive
                                a $75,000 payment from the Settlement.
SUBMIT A TIER TWO               In order to be eligible to receive an additional payment from the Settlement as
QUESTIONNAIRE AND RELEASE       a Participating Claimant, in addition to the Tier One Form you must submit a
TO BE ELIGIBLE FOR AN           Tier Two Questionnaire and Release to the Claims Administrator.
ADDITIONAL PAYMENT ABOVE        Participating Claimants are eligible to receive a maximum of $5,000,000 in
$75,000 (TOTAL PAYMENTS NOT TO total payments (inclusive of the $75,000 available to all Eligible Class
EXCEED $5,000,000)              Members) from the Settlement. The Tier Two Questionnaire and Release
                                must be postmarked (if mailed) or received (if submitted online) on or
                                before __________, 2023.
EXCLUDE YOURSELF FROM THE       If you choose to exclude yourself from the Settlement, then you will get no
SETTLEMENT BY SUBMITTING A      payment. This is the only option that potentially allows you to ever be part of
WRITTEN REQUEST FOR             any other lawsuit against any of the Defendants or any other Released
EXCLUSION (OPT-OUT FORM)        Defendant Parties about the legal claims being resolved by this Settlement.
                                Should you elect to exclude yourself from the Class, you should understand
                                that Defendants and the other Released Defendant Parties will have the right
                                to assert any and all defenses they may have to any claims that you may seek
                                to assert, including, without limitation, the defense that any such claims are
                                untimely under applicable statutes of limitations and statutes of repose.
                                Opt-Out Forms must be received on or before _____________, 2023.
OBJECT TO THE SETTLEMENT BY     Write to the Court about why you do not like the Settlement. Objections must
SUBMITTING A WRITTEN            be received on or before _____________, 2023.
OBJECTION
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GO TO THE HEARING ON _________,                 Ask to speak in Court about the fairness of the Settlement. Requests to speak
2023 AND FILE A NOTICE OF                       must be received on or before ___________, 2023. If you submit a written
INTENTION TO APPEAR                             objection, you may (but you do not have to) attend the hearing.
DO NOTHING                                      As a Class Member, you are not required to apply for any funds from the
                                                Settlement. You may instead choose to do nothing and you will not receive
                                                any payment. You will, however, still be a Class Member, which means that
                                                you give up your right to ever be part of any other lawsuit against the
                                                Defendants or any other Released Defendant Party about the legal claims being
                                                resolved by this Settlement and you will be bound by any judgments or orders
                                                entered by the Court in the Litigation.

                                              SUMMARY OF THIS NOTICE

Description of the Litigation and the Class
         This Notice relates to a proposed settlement of claims in a pending class action brought by victims of Jeffrey E.
Epstein’s (“Epstein”) sex trafficking venture, which alleged, among other things, that Defendants violated the Trafficking
Victims Protection Act (“TVPA”) by providing and his associates with the ability to withdraw large sums of cash and access
to wire services and failing in their compliance and regulatory obligations to report suspicious conduct by Epstein and his
associates. A more detailed description of the Litigation is set forth on pages ____ below. The proposed Settlement, if
approved by the Court, will settle claims of all Class Members.
Statement of Class Recovery
         Pursuant to the Settlement described herein, a $75 million settlement fund has been established (the “Global
Settlement Amount”). The Global Settlement Amount, together with any interest earned thereon, will be deposited in a
“Qualified Settlement Fund.” The Qualified Settlement Fund, less (a) any taxes, (b) any Notice and Administration Expenses,
and (c) any attorneys’ fees and litigation costs, charges, and expenses (including any award to the Class Representative of her
costs and expenses in representing the Class) awarded by the Court, and interest thereon, is the “Net Settlement Fund.” The
Net Settlement Fund will be distributed to Class Members in accordance with a plan of allocation described in the Stipulation
of Settlement and below on pages [] (“Plan of Allocation”). Distribution under the Plan of Allocation will vary from $75,000
to $5,000,000 based on each Eligible Class Member’s submissions to the Claims Administrator. Class Members should note,
however, that this is an estimated range and any particular distribution is not guaranteed. A Class Member’s actual
recovery will be determined by the information provided to the Class Administrator. See Plan of Allocation set forth and
discussed at pages ___ below for more information on the calculation of your claim.
Statement of Potential Outcome of Case
           The Settling Parties disagree on both liability and damages and do not agree on the amount of damages, if any, that
would be recoverable if the Class prevailed on each claim alleged. Defendants deny that they are liable to the Class and deny
that the Class has suffered any injury or damages. The issues on which the parties disagree are many but include: (1) whether
Defendants engaged in conduct that would give rise to any liability to the Class under the TVPA; (2) whether Defendants
have valid defenses to any such claims of liability; (3) the appropriate economic model for determining the amount of damages
(if at all) suffered during the Class Period; (4) the extent to which (if at all) Defendants were negligent; and (5) the extent to
which (if at all) Defendants’ conduct obstructed government investigation into Epstein’s sex trafficking venture.
Statement of Attorneys’ Fees and Expenses Sought
          Boies Schiller Flexner LLP (“BSF”) and Edwards Henderson Lehrman (“EHL”) as Class Counsel will apply to the
Court for an award of attorneys’ fees not to exceed thirty percent (30%) of the Global Settlement Amount plus costs, charges,
and expenses not to exceed $1,500,000.00 plus interest earned on both amounts at the same rate as earned by the Global
Settlement Fund. Since being named Class Counsel, BSF and EHL have expended considerable time and effort in the
prosecution of this Litigation on a wholly contingent basis and have advanced the expenses of the Litigation in the expectation
that if they were successful in obtaining a recovery for the Class they would be paid from such recovery.

Further Information
       For further information regarding the Litigation or this Notice or to review the Stipulation, please contact the Claims
Administrator toll-free at [X] or visit the website [X].




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        You may also contact a representative of counsel for the Class: Brittany Henderson or Bradley Edwards at Edwards
Henderson Lehrman: 1501 Broadway, 12th Floor, New York, New York 10036; 954-524-2820;
EpsteinDBSettlement@epllc.com.

                   Please Do Not Call the Court or Defendants with Questions About the Settlement.

                                           WHAT IS THIS LAWSUIT ABOUT?

                                                   THE ALLEGATIONS

        The Litigation is currently pending before the Honorable Jed S. Rakoff in the United States District Court for the
Southern District of New York (the “Court”). The initial complaint in this action was filed on November 24, 2022 and an
amended complaint was filed on January 13, 2023 (the “Complaint”).

         Class Representative’s Complaint alleges that Defendants violated §§ 1591(a)(1), (2); 1591(d); 1594(c); and 1595
of the TVPA; §§ 1962 and 1964 of the Racketeer Influenced and Corrupt Organizations Act (“RICO”) statute, and New York
state law. More specifically, the Class Representative alleges that throughout the Class Period, Defendants provided Epstein
and his associates with the ability to withdraw cash and access wire services despite knowing about Epstein’s sex trafficking
venture. Additionally, the Class Representative alleges Defendants helped Epstein and his associates avoid regulatory
scrutiny and criminal prosecution through failing in Defendants’ compliance and regulatory obligations so that Defendants
could profit from Epstein and his associates. The Class Representative alleges that Defendants’ conduct through its non-
typical banking relationship with Epstein damaged victims of Epstein’s sex trafficking venture.

        Defendants deny all of the Class Representative’s claims, allegations, and contentions of fault, liability, wrongdoing,
and damages. Defendants contend that they had a normal banking relationship with Epstein and no knowledge that Epstein
was engaged in a sex trafficking venture during the time that he was a Deutsche Bank client and that Deutsche Bank did not
engage in any conduct that resulted in harm to alleged victims of Epstein’s sex trafficking venture.

THE COURT HAS NOT RULED AS TO WHETHER DEFENDANTS ARE LIABLE TO CLASS
REPRESENTATIVE OR TO THE CLASS. THIS NOTICE IS NOT INTENDED TO BE AN EXPRESSION OF
ANY OPINION BY THE COURT WITH RESPECT TO THE TRUTH OF THE ALLEGATIONS IN THIS
LITIGATION OR THE MERITS OF THE CLAIMS OR DEFENSES ASSERTED. THIS NOTICE IS SOLELY TO
ADVISE YOU OF THE PROPOSED SETTLEMENT OF THIS ACTION AND YOUR RIGHTS IN CONNECTION
WITH THAT SETTLEMENT.

                                                PROCEDURAL HISTORY
        On February 7, 2023, Defendants moved to dismiss the Complaint. The Court granted in part and denied in part the
motion on March 20, 2023. Defendants initially answered the Complaint on April 10, 2023. On April 28, 2023, the Class
Representative moved for class certification.

         From May 9 to May 10, 2023, the Settling Parties participated in a confidential mediation with experienced mediators
in this area, including Simone Lelchuk of Melnick ADR. The mediation was preceded by the submission of mediation
statements by the Settling Parties. The Settling Parties engaged in good faith negotiations and reached an agreement in
principle. The Settling Parties drafted a Confidential Term Sheet (“Term Sheet”) memorializing their agreement to settle all
Class Members’ claims against Deutsche Bank and end the Litigation. The Settling Parties executed the Term Sheet on May
11, 2023. The Term Sheet included, among other things, the Settling Parties’ agreement to settle and dismiss with prejudice
the Litigation and grant full mutual releases in return for a cash payment of $75 million ($75,000,000) by and/or on behalf of
the Bank for the benefit of Class Members, subject to the negotiation of the terms of a Stipulation of Settlement and approval
by the Court. The Stipulation (together with the Exhibits thereto) reflects the final and binding agreement, and a compromise
of all matters that are in dispute, between the Settling Parties.

                    WHAT IS THE MONETARY VALUE OF THE PROPOSED SETTLEMENT?
        The Settlement, if approved, will result in the creation of a cash settlement fund of $75 million. This fund, plus
accrued interest and minus the costs of this Notice and all costs associated with the administration of the Settlement including
attorneys’ fees and expenses as approved by the Court, will be distributed to Eligible and Participating Class Members
pursuant to the Plan of Allocation that is described in the next section of this Notice and in the Stipulation of Settlement.



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                               WHAT IS THE PROPOSED PLAN OF ALLOCATION?
        The objective of the Plan of Allocation is to equitably distribute the Net Settlement Fund among Class Members
based on their respective alleged economic losses resulting from the TVPA and negligence claims alleged in the Litigation
pursuant to the terms of the Stipulation.

        The Claims Administrator, [To Be Determined by the Court], shall determine a Class Member’s assigned settlement
amount (the “Allocated Amount”), from the Global Settlement Amount by assigning Class Members to one or both of the
following two Tiers (provided that they meet the requirements described below):

        Tier One: A Class Member qualifies for Tier One if the Claims Administrator determines she is eligible based on
        documents and information, including a form (“Tier One Form”) providing identifying information furnished to the
        Claims Administrator by the Class Member or Class Counsel (thereby becoming an “Eligible Class Member”). Such
        Eligible Class Members will receive $75,000. An Eligible Class Member cannot receive more than $75,000 without
        qualifying for Tier Two, as described immediately below.

        Tier Two: A Class Member will qualify for Tier Two and will be eligible for an Allocated Amount over $75,000
        (thereby becoming a “Participating Claimant”) provided that (i) she (or Class Counsel) submits the Tier One Form;
        (ii) she submits the Tier Two Questionnaire and Release to the Claims Administrator, along with any supporting
        documents, and (iii) she is not deemed ineligible by the Claims Administrator. A Participating Claimant is eligible
        to receive a maximum of $5,000,000 in total payments (inclusive of the $75,000 available to all Eligible Class
        Members) from the Settlement.

        In determining an Allocated Amount within Tier Two, the Claims Administrator shall consider the following:

a.       Maximum Allocated Amount: No Class Member may be awarded more than $5,000,000. For the avoidance of
doubt, the total of all Allocated Amounts cannot exceed the Global Settlement Amount.

b.       Questionnaires: As discussed above, Class Members who wish to qualify as Participating Claimants shall submit,
in addition to the Tier One Form, a Tier Two Questionnaire and Release to the Claims Administrator within an agreed upon
timeframe. All Tier Two Questionnaires and Releases shall be signed by the Class Member under penalty of perjury.

c.       Factors: Following receipt of a Class Member’s Tier Two Questionnaire and Release, in order to determine her
Allocated Amount, the Claims Administrator shall consider the following information: the circumstances, severity, type, and
extent of the alleged abuse or trafficking, the nature and duration of the relationship with Epstein, and the impact of the
alleged conduct on the Class Member.

d.      Documentation: Class Members applying to become Participating Claimants shall submit under penalty of perjury
such other supporting documents or material, if any, to the Claims Administrator as the Claims Administrator may request
within an agreed upon timeframe.

e.        Claims Administrator’s Determination: For the avoidance of doubt, should the Claims Administrator have concerns
as to the accuracy of a Class Member’s claim form answers, questionnaire answers, allegations, or any other information
submitted, the Claims Administrator shall promptly notify the Class Member of those concerns so as to afford the Class
Member or her representative an adequate opportunity to respond to any such concerns within a reasonable time period set
by the Claims Administrator. Should the Claims Administrator then find that the Class Member’s allegations lack credibility,
the Claims Administrator shall take that finding into consideration in making any award and, if appropriate, shall deny such
individual any allocation of the Global Settlement Amount. The Claims Administrator’s determination with respect to
eligibility shall be final and non-appealable.

f.      Meeting: The Claims Administrator will hold a meeting (by telephone, video, or in person, at the Claim
Administrator’s sole discretion) with each Class Member, who (i) submits a Tier Two Questionnaire and Release and/or
supporting documentation, and (ii) requests such a meeting.

g.        Timing: The Claims Administrator shall provide in writing to Class Counsel and counsel for Deutsche Bank,
simultaneously and in a manner that ensures confidentiality, (1) the names and number of Eligible Class Members on the
same date, within 45 days after entry of the Final Approval Order or at such time as agreed upon by the Settling Parties, and
(ii) the Allocated Amounts for all Participating Claimants on the same date, within 90 days after entry of the Final Approval
Order or at such time as agreed upon by the Settling Parties.

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         Any unclaimed portion of the Global Settlement Amount shall revert back to Deutsche Bank, which shall then
distribute thirty-five percent (35%) of all such funds to a charitable organization to be determined in a mutually-agreeable
fashion by the Settling Parties.

         The estimated range of recoveries for those who qualify (i.e. $75,000 to $5,000,000) as Eligible Class Members
and/or Participating Claimants are not intended to be estimates of, nor indicative of, the amounts that they might have been
able to recover after a trial.

                 DO I NEED TO CONTACT CLASS COUNSEL IN ORDER TO PARTICIPATE IN
                              DISTRIBUTION OF THE SETTLEMENT FUND?

        No. If you have received this Notice and timely submit your Tier One Form and/or Tier Two Questionnaire and
Release to the designated address, you need not contact Class Counsel. If your address changes, please contact the Claims
Administrator at:

                                             [To Be Determined by the Court]
                                           [X] (Claims Administrator’s Address)
                                          Email: [X] (Claims Administrator’s email)

                   THERE WILL BE NO PAYMENTS IF THE STIPULATION IS TERMINATED

         The Stipulation may be terminated under certain circumstances outlined therein. If the Stipulation is terminated, the
Litigation will proceed as if the Stipulation had not been entered into.

                                  WHAT ARE THE REASONS FOR SETTLEMENT?
         The Settlement was reached after contested motion practice directed to the sufficiency of the allegations supporting
the Class Representative’s claims. The Settling Parties also completed a substantial portion of document, deposition, and
expert discovery. Nevertheless, the Court has not reached any final decisions in connection with the Class Representative’s
claims against Defendants. Instead, the Class Representative and Defendants have agreed to the Settlement, which was
reached with the substantial assistance of two highly respected mediators. In reaching the Settlement, the Settling Parties
have avoided the cost, delay, and uncertainty of further litigation, including trial.

         As in any litigation, the Class Representative and the Class would face an uncertain outcome if they did not agree to
the Settlement. If Class Representative succeeded at summary judgment or at trial, Defendants would likely file appeals that
would postpone final resolution of the case. Continuation of the Litigation against Defendants could result in a judgment
greater than this Settlement. Conversely, continuing the Litigation could result in no recovery at all or a recovery that is less
than the amount of the Settlement.

         The Class Representative and Class Counsel believe that this Settlement is fair and reasonable to the Class Members.
They have reached this conclusion for several reasons. Specifically, if the Settlement is approved, the Class will receive a
certain and immediate monetary recovery. Additionally, Class Counsel believes that the significant and immediate benefits
of the Settlement, when weighed against the significant risk, delay, and uncertainty of continued litigation, are a very
favorable result for the Class.

          Defendants have denied and continue to deny each and all of the claims and contentions alleged by the Class
Representative in the Litigation. Defendants expressly have denied and continue to deny all charges of wrongdoing or liability
against them arising out of any of the conduct, statements, acts or omissions alleged, or that could have been alleged, in the
Litigation. Defendants also have denied and continue to deny, among other things, the allegations that the Class
Representative or any other Class Member has suffered any damage, or that the Class Representative or any other Class
Member was harmed by the conduct alleged in the Litigation. For Defendants, the principal reason for entering into the
Settlement is to eliminate the uncertainty, risk, costs, and burdens of further protracted litigation. Defendants have determined
that it is desirable and beneficial to them that the Litigation be settled in the manner and upon the terms and conditions set
forth in the Stipulation.

                                            WHO REPRESENTS THE CLASS?
        The following attorneys are counsel for the Class: Boies Schiller Flexner LLP & Edwards Henderson Lehrman

                                                      Brittany Henderson
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                                          EDWARDS HENDERSON LEHRMAN
                                                 1501 Broadway, 12th Floor
                                               New York, New York 10036
                                                 Telephone: 800-400-1098
                                          Email: EpsteinDBSettlement@epllc.com

         If you have any questions about the Litigation or the Settlement, you are entitled to consult with Class Counsel by
contacting counsel at the phone number listed above.

        You may obtain a copy of the Stipulation or Settlement Forms by contacting the Claims Administrator at:

                                            [To Be Determined by the Court]
                                          [X] (Claims Administrator’s Address)
                                         Email: [X] (Claims Administrator’s email)


                      HOW WILL THE CLASS REPRESENTATIVE’S LAWYERS BE PAID?
         BSF and EHL, as Class Counsel, will file a motion for an award of attorneys’ fees, costs, and expenses that will be
considered at the Settlement Hearing. Class Counsel will apply for an attorneys’ fee award in an amount not to exceed thirty
percent (30%) of the Global Settlement Amount, plus payment of their costs, charges, and expenses incurred in connection
with this Litigation in an amount not to exceed $1,500,000.00, plus interest earned on both amounts at the same rate as earned
by the Qualified Settlement Fund. Such sums as may be approved by the Court will be paid from the Global Settlement Fund.
Class Members are not personally liable for any such fees or expenses.

         The attorneys’ fees and costs, charges, and expenses requested will be the only payment to Class Counsel for their
efforts in achieving this Settlement and for their risk in undertaking this representation on a wholly contingent basis. The
fees requested will compensate Class Counsel for their work in achieving the Settlement. The Court will decide what
constitutes a reasonable fee award and may award less than the amount requested. Class Counsel shall not share any amount
of attorneys’ fees, costs, or expenses awarded to them with any other firm or individual.

                              CAN I EXCLUDE MYSELF FROM THE SETTLEMENT?
         Yes. If you do not want to receive a payment from this Settlement or you want to keep the right to sue or continue
to sue Defendants on your own about the legal issues in this case, then you must take steps to exclude yourself from, or “opt
out” of, the Class. If you are requesting exclusion because you want to bring your own lawsuit based on the matters alleged
in this Litigation, you may want to consult an attorney and discuss whether any individual claim that you may wish to pursue
would be time-barred by the applicable statutes of limitation or repose.

       To exclude yourself from the Class, you complete and submit an Opt-Out Form to the Claims Administrator no later
than _______________, 2023, at:

                                            [To Be Determined by the Court]
                                          [X] (Claims Administrator’s Address)
                                         Email: [X] (Claims Administrator’s email)

         You cannot exclude yourself by phone or by e-mail. If you make a proper request for exclusion, you will not receive
a settlement payment, and you cannot object to the Settlement. If you make a proper request for exclusion, you will not be
legally bound by anything that happens in this lawsuit.

    CAN I OBJECT TO THE SETTLEMENT, THE REQUESTED ATTORNEYS’ FEES, THE REQUESTED
            PAYMENT OF COSTS AND EXPENSES AND/OR THE PLAN OF ALLOCATION?

        Yes. If you are a Class Member, you may object to the terms of the Settlement. Whether or not you object to the
terms of the Settlement, you may also object to the requested attorneys’ fees, costs, charges, and expenses and/or the Plan of
Allocation described herein and in the Stipulation of Settlement. In order for any objection to be considered, you must file a
written statement, accompanied by proof of Class membership, with the Court and send a copy to Class Counsel and
Defendants’ Counsel, at the addresses listed below by _______________, 2023.
      The Court’s address is: Hon. Jed S. Rakoff, Daniel Patrick Moynihan United States Courthouse, 500 Pearl Street,
New York, NY 10007; Class Counsel’s address is: Boies Schiller Flexner LLP, 55 Hudson Yards, 20th Floor, New York,
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NY 10001, c/o Andrew Villacastin; Defendants’ Counsel’s address is: Ropes & Gray, 1211 Avenue of the Americas, New
York, NY 10036, c/o Lisa Bebchick.
          You may attend the Settlement Hearing and you may ask to speak to present any objections you have, but attendance
at the Settlement Hearing is not necessary. Persons wishing to be heard orally at the Settlement Hearing, however, are
required to indicate in their written objection their intention to appear at the hearing and identify any witnesses they may call
to testify and exhibits, if any, they intend to introduce into evidence.
                  WHAT ARE MY RIGHTS AND OBLIGATIONS UNDER THE SETTLEMENT?
         If you are a Class Member and you do not exclude yourself from the Class, you may receive the benefit of, and you
will be bound by, the terms of the Settlement described in this Notice, upon approval by the Court.

                                             HOW CAN I GET A PAYMENT?
         To be eligible to receive any payment under this Settlement, you (or Class Counsel on your behalf) must timely
complete and return the Tier One Form. To receive additional funds above $75,000, you must timely complete and return
the Tier Two Questionnaire and Release. The Tier One Form and Tier Two Questionnaire and Release are enclosed with this
Notice and may be downloaded at [X]. Read the instructions carefully; fill out the appropriate forms; sign them; and mail or
submit them online so that they are postmarked (if mailed) or received (if submitted online). All Tier One Forms are due
no later than _____________, 2023. All Tier Two Questionnaires and Releases are due no later than _____________,
2023. The Tier One Form and Tier Two Questionnaire and Release may be submitted online at [X]. You are encouraged to
call the Claims Administrator to confirm that your submission has been timely received. If you (or Class Counsel on your
behalf) do not submit a timely Tier One Form with the required information, along with a Tier Two Questionnaire and Release
(if applicable), you will not receive a payment from the Global Settlement Fund; however, unless you expressly exclude
yourself from the Class as described above (using an Opt-Out Form), you will still be bound in all other respects by the
Settlement, the Judgment, and the release contained in them.

                          WHAT CLAIMS WILL BE RELEASED BY THE SETTLEMENT?
          If the Settlement is approved by the Court, the Court will enter a Judgment. If the Judgment becomes final pursuant
to the terms of the Stipulation, all Class Members who have not submitted valid and timely requests to be excluded from the
Settlement shall be deemed to have, and by operation of the Final Judgment shall have, fully, finally, and forever released,
relinquished, and discharged any and all of the Released Defendant Parties from all Released Claims, as set forth fully in
¶ 4.1 of the Stipulation.

        •    “Released Plaintiffs’ Claims” means any and all claims, rights and causes of action against Released Defendant
             Parties of every nature and description, duties, obligations, demands, actions, matters, debts, sums of money,
             suits, contracts, agreements, promises, issues, judgments, losses, damages and liabilities, including both known
             and Unknown Claims, whether fixed or contingent, mature or not mature, accrued or unaccrued, liquidated or
             unliquidated, concealed or hidden, suspected or unsuspected, direct or indirect, regardless of legal or equitable
             theory and whether arising under federal law, state law, statutory law, common law, foreign law, or any other
             law, rule, or regulation, whether class, representative, and/or individual in nature, against Released Defendant
             Parties that the Released Plaintiff Parties (a) asserted in the Litigation against the Released Defendant Parties,
             (b) could have asserted in the Litigation against the Released Defendant Parties, (c) could in the future assert in
             any other action or forum assert against the Released Defendant Parties, or (d) have with respect to Epstein.
             “Released Plaintiffs’ Claims” does not include: (i) any claims of any Person who submits an Opt-Out Form that
             is accepted by the Court; or (ii) Claims relating to the enforcement of the Settlement. For avoidance of doubt,
             this release is only intended to release the Released Defendant Parties and is not intended to release any claims
             against any Person in the case of Jane Doe v. JP Morgan Chase N.A., 22-cv-10019 or to preclude class member
             lawsuits against any other individual or entity not specifically named in the Litigation or who is not one of the
             Released Defendant Parties.

        •    “Released Defendant Party” or “Released Defendant Parties” means (i) any and all of Defendants and
             Defendants’ Counsel and each of their successors, predecessors, and past, present, and future: parent
             corporations, sister corporations, subsidiaries, and affiliated Persons and (ii) any and all of the foregoing’s
             respective past, present, or future: principals, assigns, assignors, legatees, devisees, executors, administrators,
             estates, heirs, spouses, receivers and trustees, settlors, beneficiaries, members, equity holders, officers, directors,
             partners, managers, employees, servants, agents, insurers, reinsurers, representatives, attorneys, legal
             representatives, and successors-in-interest.


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        •   “Released Plaintiff Parties” means (i) any and all Class Members, Eligible Class Members, Participating
            Claimants, Settlement Class Representatives, Class Counsel, their successors, predecessors, and each of their
            past, present, and future: parent corporations, sister corporations, subsidiaries, and affiliated Persons and (ii) any
            and all of the foregoing’s respective past, present, or future: principals, assigns, assignors, legatees, devisees,
            executors, administrators, estates, heirs, spouses, receivers and trustees, settlors, beneficiaries, members, equity
            holders, officers, directors, partners, managers, employees, servants, agents, insurers, reinsurers, representatives,
            attorneys, legal representatives, and successors-in-interest.. Released Plaintiff Parties does not include any
            Person who would otherwise be a Member of the Class but who properly exclude themselves by filing a valid
            and timely Opt-Out Form.

        •   “Unknown Claims” means (a) any and all Released Plaintiffs’ Claims that any of the Released Plaintiff Parties
            do not know or suspect to exist in his, her, or its favor at the time of the release of the Released Defendant Parties,
            which, if known by him, her, or it, might have affected his, her, or its settlement with and release of the Released
            Defendant Parties, or might have affected his, her, or its decision(s) with respect to the Settlement, including,
            but not limited to, whether or not to object to this Settlement; and (b) any and all Released Defendants’ Claims
            that any of the Released Defendant Parties do not know or suspect to exist in his, her, or its favor at the time of
            the release of Released Plaintiff Parties, which, if known by him, her, or it, might have affected his, her, or its
            settlement with and release of Released Plaintiff Parties. With respect to (a) any and all Released Plaintiffs’
            Claims, and (b) any and all Released Defendants’ Claims, the Settling Parties stipulate and agree that, upon the
            Effective Date, the Settling Parties shall expressly waive, and each Released Plaintiff Party and Released
            Defendant Party shall be deemed to have, and by operation of the Judgment shall have, expressly waived the
            provisions, rights, and benefits of California Civil Code § 1542, which provides:

            A general release does not extend to claims that the creditor or releasing party does not know or suspect to
            exist in his or her favor at the time of executing the release and that, if known by him or her, would have
            materially affected his or her settlement with the debtor or released party.

            The Settling Parties shall expressly waive, and each Released Plaintiff Party and Released Defendant Party shall
            be deemed to have, and by operation of the Judgment shall have, expressly waived any and all provisions, rights,
            and benefits conferred by any law of any state or territory of the United States, or principle of common law, which
            is similar, comparable, or equivalent to California Civil Code § 1542. The Released Plaintiff Parties and
            Released Defendant Parties acknowledge that they may hereafter discover facts, legal theories, or authorities in
            addition to or different from those which he, she, it or they now know or believe to be true with respect to the
            subject matter of the Released Claims, but (a) the Released Plaintiff Parties shall expressly fully, finally, and
            forever waive, compromise, settle, discharge, extinguish, and release, and each Released Plaintiff Party shall be
            deemed to have waived, compromised, settled, discharged, extinguished, and released, and, upon the Effective
            Date, and by operation of the Judgment, shall be deemed to have waived, compromised, settled, discharged,
            extinguished, and released, fully, finally, and forever, any and all Released Plaintiffs’ Claims, known or
            unknown, suspected or unsuspected, contingent or non-contingent, accrued or unaccrued, whether or not
            concealed or hidden, which now exist, or heretofore have existed, or may hereafter exist, upon any theory of law or
            equity now existing or coming into existence in the future, including, but not limited to, conduct which is negligent,
            intentional, with or without malice, or a breach of any duty, law, or rule, without regard to the subsequent
            discovery or existence of such different or additional facts, legal theories, or authorities, and (b) the Released
            Defendant Parties shall expressly fully, finally, and forever waive, compromise, settle, discharge, extinguish and
            release, and, upon the Effective Date, and by operation of the Judgment, shall have waived, compromised, settled,
            discharged, extinguished, and released, fully, finally, and forever, any and all Released Defendants’ Claims against
            Released Plaintiff Parties, known or unknown, suspected or unsuspected, contingent or non-contingent, whether
            or not concealed or hidden, which now exist, or heretofore have existed, upon any theory of law or equity now
            existing or coming into existence in the future, including, but not limited to, conduct which is negligent,
            intentional, with or without malice, or a breach of any duty, law or rule, without regard to the subsequent
            discovery or existence of such different or additional facts, legal theories, or authorities. The Settling Parties
            acknowledge, and the Released Plaintiff Parties and Released Defendant Parties shall be deemed by operation of the
            Judgment to have acknowledged, that the foregoing waiver was separately bargained for and is an essential element
            of the Settlement of which this release is a part.

                                             THE SETTLEMENT HEARING

        The Court will hold a Settlement Hearing on ______________, 2023, at __:__ _.m. before the Honorable Jed S.
Rakoff at the United States District Court for the Southern District of New York, Daniel Patrick Moynihan United States

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Courthouse, 500 Pearl Street, New York, NY 10007, for the purpose of determining whether: (1) the Settlement as set forth
in the Stipulation for $75,000,000 in cash (including the Plan of Allocation described therein and in this Notice) should be
approved by the Court as fair, reasonable, and adequate; (2) Judgment as provided under the Stipulation should be entered;
and (3) to award Class Counsel’s fees, costs, and expenses out of the Settlement Fund and, if so, in what amount. The Court
may adjourn or continue the Settlement Hearing, or hold it via telephone or video conference, without further notice to Class
Members.

         To determine whether the date and time of the Settlement Hearing have changed, or whether Class Members must
or may participate by phone or video, it is important that you monitor the Court’s docket and the settlement website, [X],
before making any plans to attend the Settlement Hearing. Any updates regarding the Settlement Hearing, including any
changes to the date and time of the hearing or updates regarding in-person, telephonic or video conference appearances at the
hearing, including access information, will be posted to the website.

        Any Class Member may appear at the Settlement Hearing and be heard on any of the foregoing matters; provided,
however, that no such person shall be heard unless her objection is made in writing and is filed together with proof of
membership in the Class and with copies of all other papers and briefs to be submitted by her to the Court at the Settlement
Hearing with the Court no later than ________________, 2023 and with proof of service on the following counsel:

      Andrew Villacastin                                           Lisa Bebchick
      Boies Schiller Flexner LLP                                   Ropes & Gray LLP
      55 Hudson Yards                                              1211 Avenue of the Americas
      20th Floor                                                   New York, NY 10036
      New York, New York 10001

      Attorneys for Class Representative and the Class             Attorneys for Defendants

         Unless otherwise directed by the Court, any Class Member who does not make her objection in the manner provided
shall be deemed to have waived all objections to this Settlement and shall be foreclosed from raising (in this or any other
proceeding or on any appeal) any objection and any untimely objection shall be barred.

        If you hire an attorney (at your own expense) to represent you for purposes of objecting, your attorney must serve a
notice of appearance on counsel listed above and file it with the Court (at the address set out above) by no later than
_____________, 2023.

                                                      INJUNCTION
         The Court has issued an order enjoining all Class Members from instituting, commencing, maintaining, or
prosecuting any action in any court or tribunal that asserts Released Claims against any Released Defendant Parties, pending
final determination by the Court of whether the Settlement should be approved.

                                HOW DO I OBTAIN ADDITIONAL INFORMATION?
         This Notice contains only a summary of the terms of the proposed Settlement. The records in this Litigation may be
examined and copied during regular office hours, and subject to customary fees, at the Clerk of the United States District
Court for the Southern District of New York. For a fee, all papers filed in this Litigation are available at www.pacer.gov. In
addition, all Settlement documents, including the Stipulation, this Notice, the Settlement Forms, and proposed Judgment may
be obtained by visiting [X] or by contacting the Claims Administrator at:

                                             [To Be Determined by the Court]
                                           [X] (Claim Administrator’s Address)
                                         Email: [X] (Claims Administrator’s email)

                    DO NOT WRITE TO OR TELEPHONE THE COURT FOR INFORMATION



DATED: ___________________ BY ORDER OF THE
                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


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